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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Charlie Banks                            )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )
v.                                              )      July Demand Requested
                                                )
      Credit Control, LLC                .      )
      4710 Eisenhower Blvd, A2                  )
      Tampa, FL 33634                           )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for his Complaint alleges as
                                        follows:

                                        INTRODUCTION

             1. Plaintiff, Charlie Banks, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Credit Control,
                LLC. Plaintiff allege violation of the Fair Debt Collection Practices Act,
                15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits any false, misleading or deceptive
                threats in connection with the collection of a debt 15 U.S.C. Section
                1692e.
             3. A debt collection may not imply outcomes that are not legally able to
                come to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
             4. The Seventh Circuit has stated that "[w]hen language in a debt
                collection letter can reasonably be interpreted to imply that the debt
                collector will take action it has no intention or ability to undertake, the
                debt collector that fails to clarify that ambiguity does so at its peril." Lox
                v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012) (citing Gonzales
                v. Arrow Financial Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
             5. In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-
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          1979) (N.D.IL 2016), the Court stated “literally true conditional
          language in a dunning letter can be deceptive if the action suggested is
          legally prohibited.” Id.
       6. The Sixth Circuit Court of Appeals stated “[I]f Plaintiff can show that
          interest or charges could never accrue and therefore the balance owed
          is truly fixed, then his claim should be allowed to go forward to
          determine if, under those circumstances, Defendants’ letter was
          threatening or materially misleading.” Walker v. Shermeta, Adams,
          Von Allment, PC 623 F. App’x 764, 768 (6th Cir. 2015).
       7. Recently, the Seventh Circuit Court of Appeals stated that the “safe
          harbor” language given in Miller v. McCalla, Raymer Padrick, Cobb,
          Nichols, & Clark, LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to
          situations that can not legally come to pass. Recently, the Seventh
          Circuit Court of Appeals weighed into the statement in paragraph 24
          that it is not a protection to use this language when an outcome is
          being suggested that is impossible to come to pass. Boucher v. Fin.
          Sys. Of Green Bay, Inc., No. 17-2308, (7th Cir., 2018).

                      JURISDICTION AND VENUE
       8. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       9. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                              PARTIES
       10. Plaintiff, Charlie Banks (hereinafter “Plaintiff”) incurred an obligation to
          pay money, the primary purpose of which was for personal, family, or
          household uses (the “Debt”).
       11. Plaintiff is a resident of the State of Illinois
       12. Defendant, Credit Control, LLC (“Defendant”), is a Florida business
          entity with an address of 4710 Eisenhower Blvd, A2, Tampa, Florida
          33634 operating as a collection agency, and is a “debt collector” as the
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          term is defined by 15 U.S.C. Section 1692a(6).
       13. Unless otherwise stated herein, the term “Defendant” shall refer to
          Credit Control, LLC.
       14. At some point, the original creditor, sold this debt to Defendant for debt
          collection.
       15. The primary operation of Defendant is the collection of debt.
                                   ALLEGATIONS
       16. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $1,222.85 (the “Debt”) to an original creditor (the “Creditor”)
       17. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       18. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
       19. Furthermore, in said communication, it states “[B]ecause of interest,
          late charges, and other charges assessed by your creditor that may
          vary from day to day, the amount due on the day you pay may be
          greater.” See Exhibit A.
       20. In fact, the statement in paragraph 19, by Defendant, is an impossible
          outcome as there is nothing in the contract between Plaintiff and the
          original creditor that would authorize “other charges.”
       21. A review of the contract between Plaintiff and creditor reveals there
          can be only interest, late charges and returned check fees. See
          Exhibit B.
       22. There are no “other charges” that can cause Plaintiff’s debt to “vary
          from day to day.”
       23. This is a legal outcome that is impossible to come to pass.

                              STANDING AND INJURY
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       24. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       25. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
       26. The rights and obligations established by section 1692g were
          considered by the Senate at the time of passage to be a “significant
          feature” of the Act. “This provision [section 1692g] will eliminate the
          recurring problem of collectors dunning the wrong person or attempting
          to collect debts which the consumer has already paid.”
                                         reprinted in
       27. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       28. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       29. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       30. The Defendant’s conduct violated 15 U.S.C. Section 1692e by
          suggesting an outcome that is a legal impossibility.
                                    JURY DEMAND
       31. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       32. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.
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                                               Respectfully submitted,
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